Electronically FILED by Superior Court of California, County of Los Angeles on 07/20/2021 01:19 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                     Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 1 of 45 Page ID #:5
                                                    21STCV26616
                                              Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Serena Murillo
                                                                                                                                                                       PLD-PI-001
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                               FOR COURT USE ONLY
           Shawn Azizzadeh, Esq. (SBN 227558)
           Michelle Balady, Esq. (SBN 316525)
           Bedford Law Group, APC
           1875 Century Park East, Suite 1790, Los Angeles, CA 90067

                     TELEPHONE NO:       310-507-7900                   FAX NO. (Optional): 310-507-7910
           E-MAIL ADDRESS (Optional):    mb@bedfordlg.com
              ATTORNEY FOR (Name):       Plaintiff, Gloria Martinez Arreola
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
            STREET ADDRESS:       312 North Spring Street
            MAILING ADDRESS:      312 North Spring Street
           CITY AND ZIP CODE:     Los Angeles 90012
               BRANCH NAME:       Spring Street Courthouse
              PLAINTIFF: Gloria Martinez Arreola
           DEFENDANT: Walmart Inc.; and
                    DOES 1 TO 10,                       inclusive
                                                                                                                               CASE NUMBER:
           COMPLAINT—Personal Injury, Property Damage, Wrongful Death
               AMENDED (Number):
           Type (check all that apply):
                MOTOR VEHICLE                               OTHER (specify): Premises Liability
                     Property Damage                         Wrongful Death
                     Personal Injury                         Other Damages (specify): General Negligence
           Jurisdiction (check all that apply):
                ACTION IS A LIMITED CIVIL CASE
                Amount demanded              does not exceed $10,000
                                             exceeds $10,000, but does not exceed $25,000
                ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
                ACTION IS RECLASSIFIED by this amended complaint
                      from limited to unlimited
                      from unlimited to limited
          1. Plaintiff (name or names): Gloria Martinez Arreola
               alleges causes of action against defendant (name or names):
               Walmart Inc.; and DOES 1 to 10, inlusive
          2. This pleading, including attachments and exhibits, consists of the following number of pages: 5
          3. Each plaintiff named above is a competent adult
             a.       except plaintiff (name):
                            (1)           a corporation qualified to do business in California
                            (2)           an unincorporated entity (describe):
                            (3)           a public entity (describe):
                            (4)           a minor               an adult
                                          (a)           for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                          (b)           other (specify):
                            (5)           other (specify):
               b.           except plaintiff (name):
                            (1)      a corporation qualified to do business in California
                            (2)           an unincorporated entity (describe):
                            (3)           a public entity (describe):
                            (4)           a minor               an adult
                                          (a)           for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                          (b)           other (specify):
                            (5)           other (specify):
                    Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                               Page 1 of 3

           Form Approved for Optional Use                            COMPLAINT—Personal Injury, Property                                                  Code of Civil Procedure, § 425.12
             Judicial Council of California                                                                                                                              www.courts.ca.gov
          PLD-PI-001 [Rev. January 1, 2007]                               Damage, Wrongful Death
                                                                                                                                                                    Exhibit 1
                                                                                                                                                                      000005
           Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 2 of 45 Page ID #:6
                                                                                                                                 PLD-PI-001
SHORT TITLE:                                                                                     CASE NUMBER:
 Gloria Martinez Arreola vs. Walmart Inc.


4.           Plaintiff (name):
             is doing business under the fictitious name (specify):

         and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
  a.       except defendant (name): Walmart Inc.                          c.         except defendant (name):
        (1)      a business organization, form unknown                         (1)        a business organization, form unknown
        (2)      a corporation                                                 (2)        a corporation
            (3)           an unincorporated entity (describe):                 (3)        an unincorporated entity (describe):

            (4)           a public entity (describe):                          (4)        a public entity (describe):

            (5)           other (specify):                                     (5)        other (specify):




     b.           except defendant (name):                                d.         except defendant (name):
            (1)           a business organization, form unknown                (1)        a business organization, form unknown
            (2)           a corporation                                        (2)        a corporation
            (3)           an unincorporated entity (describe):                 (3)        an unincorporated entity (describe):

            (4)           a public entity (describe):                          (4)        a public entity (describe):


            (5)           other (specify):                                     (5)        other (specify):

             Information about additional defendants who are not natural persons is contained in Attachment 5.
6. The true names of defendants sued as Does are unknown to plaintiff.
      a.           Doe defendants (specify Doe numbers): 1-10                             were the agents or employees of other
                   named defendants and acted within the scope of that agency or employment.
      b.        Doe defendants (specify Doe numbers): 1-10                              are persons whose capacities are unknown to
                plaintiff.
7.          Defendants who are joined under Code of Civil Procedure section 382 are (names):




8. This court is the proper court because
   a.        at least one defendant now resides in its jurisdictional area.
   b.        the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
   c.        injury to person or damage to personal property occurred in its jurisdictional area.
   d.        other (specify):




9.           Plaintiff is required to comply with a claims statute, and
      a.         has complied with applicable claims statutes, or
      b.           is excused from complying because (specify):




PLD-PI-001 [Rev. January 1, 2007]                       COMPLAINT—Personal Injury, Property                                            Page 2 of 3
                                                             Damage, Wrongful Death

                                                                                                                             Exhibit 1
                                                                                                                               000006
           Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 3 of 45 Page ID #:7
                                                                                                                                      PLD-PI-001
SHORT TITLE:                                                                                       CASE NUMBER:
 Gloria Martinez Arreola vs. Walmart Inc.

10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
    causes of action attached):
a.            Motor Vehicle
b.            General Negligence
c.            Intentional Tort
d.            Products Liability
e.            Premises Liability
f.           Other (specify):




11. Plaintiff has suffered
a.         wage loss
b.           loss of use of property
c.           hospital and medical expenses
d.           general damage
e.           property damage
f.           loss of earning capacity
g.           other damage (specify):
             Plaintiff has sustained injuries and damages as a direct and proximate result of the negligence and carelessness of
             Defendants and each of them, which injuries have caused and will continue to cause Plaintiff great mental, physical, and
             nervous pain and suffering.

12.          The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
      a.        listed in Attachment 12.
      b.          as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.




14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
    a. (1)         compensatory damages
           (2)      punitive damages
            The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
           (1)      according to proof
           (2)      in the amount of: $
15.         The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):



Date: July 20, 2021
Michelle Balady, Esq.
                              (TYPE OR PRINT NAME)                                                        (SIGNATURE OF PLAINTIFF OR ATTORNEY)

PLD-PI-001 [Rev. January 1, 2007]                    COMPLAINT—Personal Injury, Property                                                    Page 3 of 3
                                                          Damage, Wrongful Death



                                                                                                                                   Exhibit 1
                                                                                                                                     000007
           Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 4 of 45 Page ID #:8
                                                                                                                                       PLD-PI-001(4)
 SHORT TITLE:                                                                                           CASE NUMBER:
 Gloria Martinez Arreola vs. Walmart Inc.

FIRST
                                                   CAUSE OF ACTION—Premises Liability                                        Page             4
                 (number)
ATTACHMENT TO                          Complaint         Cross-Complaint
(Use a separate cause of action form for each cause of action.)
Prem.L-1. (name): Gloria Martinez Arreola
              alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
               On (date): or about 12/06/2019                              plaintiff was injured on the following premises in the following
               fashion (description of premises and circumstances of injury):
              On the aforesaid date, Plaintiff was lawfully on the premises owned, operated, managed, and controlled by Defendant and
              DOES 1 to 20, inclusive, located at, 8500 Washington Blvd, Pico Rivera, CA 90660, in order to purchase goods. While on the
              premises, Plaintiff slipped and fell on a piece of fruit on the floor. Defendants knew or should have known there was a
              dangerous condition. Defendants created a dangerous condition and improperly, carelessly, recklessly, and negligently failed
              to keep the premises in reasonably safe condition.


Prem.L-2.                Count One—Negligence The defendants who negligently owned, maintained, managed and
                         operated the described premises were (names):
                         Walmart Inc.; and



                                  Does 1                    to 10, inclusive
Prem.L-3.                 Count Two—Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                          or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                          (names):
                          Walmart Inc.; and




                                   Does 1                    to 10, inclusive
                          Plaintiff, a recreational user, was           an invited guest          a paying guest.
Prem.L-4.                 Count Three—Dangerous Condition of Public Property The defendants who owned public property
                          on which a dangerous condition existed were (names):




                                  Does                     to
                          a.         The defendant public entity had            actual            constructive notice of the existence of the
                                      dangerous condition in sufficient time prior to the injury to have corrected it.
                          b.           The condition was created by employees of the defendant public entity.
Prem.L-5.a.                 Allegations about Other Defendants The defendants who were the agents and employees of the other
                            defendants and acted within the scope of the agency were (names):
                            Walmart Inc.; and


                                 Does 1                    to 10, inclusive
              b.            The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                  described in attachment Prem.L-5.b           as follows (names):



                                                                                                                                                   Page 1 of 1
  Form Approved for Optional Use                                                                                               Code of Civil Procedure, § 425.12
 Judicial Council of California PLD-                 CAUSE OF ACTION—Premises Liability                                                       www.courts.ca.gov
  PI-001(4) [Rev. January 1, 2007]




                                                                                                                                         Exhibit 1
                                                                                                                                           000008
          Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 5 of 45 Page ID #:9
                                                                                                                             PLD-PI-001(2)
 SHORT TITLE:                                                                                  CASE NUMBER:
 Gloria Martinez Arreola vs. Walmart Inc.

    SECOND                                        CAUSE OF ACTION—General Negligence                                 Page 5
                    (number)

    ATTACHMENT TO                          Complaint      Cross-Complaint

    (Use a separate cause of action form for each cause of action.)

    GN-1. Plaintiff (name): Gloria Martinez Arreola

             alleges that defendant (name): Walmart Inc., and

                      Does             1                 to 10, inclusive

             was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
             negligently caused the damage to plaintiff

             on (date): or about 12/06/2019

             at (place): or near 8500 Washington Blvd, Pico Rivera, CA 90660

             (description of reasons for liability):
             On the aforesaid date, Plaintiff was lawfully on the premises owned, operated, managed, and controlled by Defendant and
             DOES 1 to 20, inclusive, located at, 8500 Washington Blvd, Pico Rivera, CA 90660, in order to purchase goods. While on the
             premises, Plaintiff slipped and fell on a piece of fruit on the floor. Defendants knew or should have known there was a
             dangerous condition. Defendants created a dangerous condition and improperly, carelessly, recklessly, and negligently failed
             to keep the premises in reasonably safe condition.


             Defendants improperly, carelessly, recklessly, and negligently failed to prevent the dangerous condition, use reasonable care
             to remedy the unsafe condition, and failed to give adequate warning of the unsafe condition, causing serious harm and
             personal injuries to Plaintiff.




                                                                                                                                         Page 1 of 1
  Form Approved for Optional Use                                                                                       Code of Civil Procedure 425.12
    Judicial Council of California                 CAUSE OF ACTION—General Negligence                                              www.courts.ca.gov
PLD-PI-001(2) [Rev. January 1, 2007]




                                                                                                                              Exhibit 1
                                                                                                                                000009
                                                                                                                                                                                   CM-010
Electronically FILED by Superior Court of California, County of Los Angeles on 07/20/2021 01:19 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                    Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 6 of FOR
                                                                                    45COURT
                                                                                         Page
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):21STCV26616 ID #:10
                                                                                            USE ONLY
           Shawn Azizzadeh, Esq. (SBN 227558); Michelle Balady, Esq. (SBN 316525)
           Bedford Law Group, APC
           1875 Century Park East, Suite 1790, Los Angeles, CA 90067

                     TELEPHONE NO.:    310-507-7900                   FAX NO. (Optional): 310-507-7910

                ATTORNEY FOR (Name):   Plaintiff, Gloria Martinez Arreola
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
            STREET ADDRESS:     312 North Spring Street
            MAILING ADDRESS:    312 North Spring Street
           CITY AND ZIP CODE:   Los Angeles 90012
                BRANCH NAME:    Spring Street Courthouse
           CASE NAME:
            Gloria Martinez Arreola vs. Walmart Inc.
                  CIVIL CASE COVER SHEET                                     Complex Case Designation                          CASE NUMBER:

                   Unlimited                       Limited                Counter               Joinder
                   (Amount                         (Amount
                                                                  Filed with first appearance by defendant JUDGE:
                   demanded                        demanded is
                                                                      (Cal. Rules of Court, rule 3.402)
                   exceeds $25,000)                $25,000)                                                 DEPT.:

                                                    Items 1–6 below must be completed (see instructions on page 2).
            1. Check one box below for the case type that best describes this case:
                Auto Tort                                               Contract                                           Provisionally Complex Civil Litigation
                      Auto (22)                                                 Breach of contract/warranty (06)           (Cal. Rules of Court, rules 3.400–3.403)
                      Uninsured motorist (46)                                   Rule 3.740 collections (09)                       Antitrust/Trade regulation (03)
                Other PI/PD/WD (Personal Injury/Property                        Other collections (09)                             Construction defect (10)
                Damage/Wrongful Death) Tort                                                                                        Mass tort (40)
                                                                                Insurance coverage (18)
                       Asbestos (04)                                                                                               Securities litigation (28)
                                                                              Other contract (37)
                       Product liability (24)                                                                                    Environmental/Toxic tort (30)
                                                                        Real Property
                       Medical malpractice (45)                                                                                  Insurance coverage claims arising from the
                                                                                Eminent domain/Inverse
                                                                                                                                 above listed provisionally complex case
                     Other PI/PD/WD (23)                                        condemnation (14)
                                                                                                                                 types (41)
                Non-PI/PD/WD (Other) Tort                                       Wrongful eviction (33)                     Enforcement of Judgment
                       Business tort/unfair business practice (07)           Other real property (26)                            Enforcement of judgment (20)
                       Civil rights (08)                                Unlawful Detainer
                                                                                                                           Miscellaneous Civil Complaint
                       Defamation (13)                                          Commercial (31)
                                                                                                                                   RICO (27)
                       Fraud (16)                                               Residential (32)
                                                                                                                                   Other complaint (not specified above) (42)
                       Intellectual property (19)                             Drugs (38)
                                                                                                                           Miscellaneous Civil Petition
                       Professional negligence (25)                     Judicial Review
                                                                                Asset forfeiture (05)                              Partnership and corporate governance (21)
                     Other non-PI/PD/WD tort (35)
                Employment                                                      Petition re: arbitration award (11)                Other petition (not specified above) (43)

                       Wrongful termination (36)                                Writ of mandate (02)
                       Other employment (15)                                    Other judicial review (39)
           2. This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a.        Large number of separately represented parties       d.         Large number of witnesses
             b.        Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more
                       issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
             c.        Substantial amount of documentary evidence                      court
                                                                            f.         Substantial postjudgment judicial supervision
          3. Remedies sought (check all that apply): a.          monetary b.        nonmonetary; declaratory or injunctive relief c.           punitive
          4. Number of causes of action (specify): Two (2)
          5. This case           is          is not   a class action suit.
          6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: July 20, 2021
          Michelle Balady, Esq.
                                       (TYPE OR PRINT NAME)                                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                           NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                in sanctions.
            •   File this cover sheet in addition to any cover sheet required by local court rule.
            •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                other parties to the action or proceeding.
            •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

                                                                                                                                                                        Exhibit 1
                                                                                                                                                                                  Page 1 of 2
          Form Adopted for Mandatory Use                                                                                             Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
          Judicial Council of California                                   CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
          CM-010 [Rev. July 1, 2007]
                                                                                                                                                                          000010
                                                                                                                                                                              www.courts.ca.gov
          Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 7 of 45 Page ID #:11
                                                                                       CM-010
                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                Page 2 of 2
                                                                                                                                 Exhibit 1
                                                        CIVIL CASE COVER SHEET


                                                                                                                                   000011
                                     Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 8 of 45 Page ID #:12
 SHORT TITLE:                                                                                                             CASE NUMBER




                                                      CIVIL CASE COVER SHEET ADDENDUM AND
                                                              STATEMENT OF LOCATION
                                       (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                                      This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



              Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                                         Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

              Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

              Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                                         chosen.

                                                              Applicable Reasons for Choosing Court Filing Location (Column C )

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.                         7. Location where petitioner resides.
2. Permissive filing in central district.                                                                8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                                 9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                                  10. Location of Labor Commissioner Office.
                                                                                                        11. Mandatory filing location (Hub Cases – unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                                      A                                                        B                                                        C
                                           Civil Case Cover Sheet                                       Type of Action                                          Applicable Reasons -
                                                 Category No.                                          (Check only one)                                          See Step 3 Above

                                                  Auto (22)              A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11
   Auto
   Tort




                                          Uninsured Motorist (46)        A7110 Personal Injury/Property Damage/Wrongful Death – Uninsured Motorist          1, 4, 11


                                                                         A6070 Asbestos Property Damage                                                     1, 11
                                               Asbestos (04)
                                                                         A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11
   Other Personal Injury/ Property
   Damage/ Wrongful Death Tort




                                            Product Liability (24)       A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                                         A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
                                          Medical Malpractice (45)
                                                                         A7240 Other Professional Health Care Malpractice                                   1, 4, 11


                                                                         A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                            1, 4, 11
                                              Other Personal
                                              Injury Property            A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                            1, 4, 11
                                             Damage Wrongful                   assault, vandalism, etc.)
                                                Death (23)                                                                                                  1, 4, 11
                                                                         A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                            1, 4, 11
                                                                         A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                                     CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3

   For Mandatory Use
                                                                        AND STATEMENT OF LOCATION                                                                 Exhibit 1
                                                                                                                                                            Page 1 of 4

                                                                                                                                                                    000012
                                  Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 9 of 45 Page ID #:13
SHORT TITLE:                                                                                                       CASE NUMBER




                                                  A                                                       B                                               C Applicable
                                        Civil Case Cover Sheet                                       Type of Action                                    Reasons - See Step 3
                                              Category No.                                          (Check only one)                                         Above

                                          Business Tort (07)          A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3
  Non-Personal Injury/ Property
  Damage/ Wrongful Death Tort




                                           Civil Rights (08)          A6005 Civil Rights/Discrimination                                                1, 2, 3

                                           Defamation (13)            A6010 Defamation (slander/libel)                                                 1, 2, 3

                                              Fraud (16)              A6013 Fraud (no contract)                                                        1, 2, 3

                                                                      A6017 Legal Malpractice                                                          1, 2, 3
                                     Professional Negligence (25)
                                                                      A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3

                                              Other (35)              A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3

                                      Wrongful Termination (36)       A6037 Wrongful Termination                                                       1, 2, 3
         Employment




                                                                      A6024 Other Employment Complaint Case                                            1, 2, 3
                                       Other Employment (15)
                                                                      A6109 Labor Commissioner Appeals                                                 10

                                                                      A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                       2, 5
                                                                            eviction)
                                     Breach of Contract/ Warranty                                                                                      2, 5
                                                 (06)                 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                           (not insurance)                                                                                             1, 2, 5
                                                                      A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                       1, 2, 5
                                                                      A6028 Other Breach of Contract/Warranty (not fraud or negligence)
         Contract




                                                                      A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                           Collections (09)
                                                                      A6012 Other Promissory Note/Collections Case                                     5, 11
                                                                      A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                            Purchased on or after January 1, 2014)

                                      Insurance Coverage (18)         A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                                      A6009 Contractual Fraud                                                          1, 2, 3, 5
                                         Other Contract (37)          A6031 Tortious Interference                                                      1, 2, 3, 5
                                                                      A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                                       Eminent Domain/Inverse
                                                                      A7300 Eminent Domain/Condemnation                Number of parcels               2, 6
                                         Condemnation (14)
         Real Property




                                        Wrongful Eviction (33)        A6023 Wrongful Eviction Case                                                     2, 6

                                                                      A6018 Mortgage Foreclosure                                                       2, 6
                                       Other Real Property (26)       A6032 Quiet Title                                                                2, 6
                                                                      A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                                    Unlawful Detainer-Commercial
                                                                      A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                                                (31)
         Unlawful Detainer




                                    Unlawful Detainer-Residential
                                                                      A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                                (32)
                                         Unlawful Detainer-
                                                                      A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
                                        Post-Foreclosure (34)

                                    Unlawful Detainer-Drugs (38)      A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                                    CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC CIV 109 Rev. 12/18
 For Mandatory Use
                                                                       AND STATEMENT OF LOCATION                                                            Exhibit 1
                                                                                                                                                       Page 2 of 4

                                                                                                                                                              000013
                                         Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 10 of 45 Page ID #:14
SHORT TITLE:                                                                                                                CASE NUMBER




                                                           A                                                        B                                 C Applicable
                                                Civil Case Cover Sheet                                        Type of Action                       Reasons - See Step 3
                                                      Category No.                                           (Check only one)                            Above

                                                 Asset Forfeiture (05)          A6108 Asset Forfeiture Case                                        2, 3, 6

                                              Petition re Arbitration (11)      A6115 Petition to Compel/Confirm/Vacate Arbitration                2, 5
      Judicial Review




                                                                                A6151 Writ - Administrative Mandamus                               2, 8
                                                 Writ of Mandate (02)           A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                                                                A6153 Writ - Other Limited Court Case Review                       2

                                              Other Judicial Review (39)        A6150 Other Writ /Judicial Review                                  2, 8

                                            Antitrust/Trade Regulation (03)     A6003 Antitrust/Trade Regulation                                   1, 2, 8
      Provisionally Complex Litigation




                                               Construction Defect (10)         A6007 Construction Defect                                          1, 2, 3

                                              Claims Involving Mass Tort
                                                                                A6006 Claims Involving Mass Tort                                   1, 2, 8
                                                         (40)

                                               Securities Litigation (28)       A6035 Securities Litigation Case                                   1, 2, 8

                                                      Toxic Tort
                                                                                A6036 Toxic Tort/Environmental                                     1, 2, 3, 8
                                                  Environmental (30)

                                             Insurance Coverage Claims
                                                                                A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8
                                               from Complex Case (41)

                                                                                A6141 Sister State Judgment                                        2, 5, 11
                                                                                A6160 Abstract of Judgment                                         2, 6
  Enforcement
  of Judgment




                                                     Enforcement                A6107 Confession of Judgment (non-domestic relations)              2, 9
                                                   of Judgment (20)             A6140 Administrative Agency Award (not unpaid taxes)               2, 8
                                                                                A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8
                                                                                A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                                      RICO (27)                 A6033 Racketeering (RICO) Case                                     1, 2, 8
  Civil Complaints
   Miscellaneous




                                                                                A6030 Declaratory Relief Only                                      1, 2, 8

                                                  Other Complaints              A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
                                              (Not Specified Above) (42)        A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
                                                                                A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                                               Partnership Corporation
                                                                                A6113 Partnership and Corporate Governance Case                    2, 8
                                                  Governance (21)

                                                                                A6121 Civil Harassment With Damages                                2, 3, 9
  Miscellaneous
  Civil Petitions




                                                                                A6123 Workplace Harassment With Damages                            2, 3, 9
                                                                                A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                                                 Other Petitions (Not
                                                Specified Above) (43)           A6190 Election Contest                                             2
                                                                                A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                                                A6170 Petition for Relief from Late Claim Law                      2, 3, 8
                                                                                A6100 Other Civil Petition                                         2, 9




                                                                              CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
 For Mandatory Use
                                                                                 AND STATEMENT OF LOCATION                                             Exhibit 1
                                                                                                                                                   Page 3 of 4

                                                                                                                                                         000014
            Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 11 of 45 Page ID #:15
 SHORT TITLE:                                                                         CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
             type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
             (No address required for class action cases).

                                                                     ADDRESS:
   REASON:

       1.       2.   3.   4.   5.   6.   7.   8.   9.   10.    11.



   CITY:                                      STATE:     ZIP CODE:




Step 5: Certification of Assignment: I certify that this case is properly filed in the                                   District of
             the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated:
                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                              CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2.3
  LASC CIV 109 Rev. 12/18
  For Mandatory Use
                                                 AND STATEMENT OF LOCATION                                                 Exhibit 1
                                                                                                                         Page 4 of 4

                                                                                                                             000015
       Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 12 of 45 Page ID #:16
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 21STCV26616

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Serena R. Murillo                  29




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       07/20/2021
    on _____________________________                                        R. Perez
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)
LASC Approved 05/06
                           NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
                                                                                                                              Exhibit 1
                                                                                                                                000016
       Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 13 of 45 Page ID #:17
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)
LASC Approved 05/06
                            NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
                                                                                                                          Exhibit 1
                                                                                                                            000017
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 14 of 45 Page ID #:18

                                                                FILED                 2020-SJ-002-00
                                                       Superior Court of California
                                                         County of Lob Angeles
                                                             FEB 2 4 2020
 1
                                                  Sherri R Ci
 2                                                                              Wy

 3                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 4                             FOR THE COUNTY OF LOS ANGELES
 5
     IN RE PERSONAL INJURY                         )   CASE NO.:
 6
     COURT (“PI COURT’) PROCEDURES                 )
 7   SPRING STREET COURTHOUSE                      )   FIRST AMENDED STANDING ORDER
     (EFFECTIVE FEBRUARY 24,2020)                  )   RE: PERSONAL INJURY PROCEDURES
 8                                                 )   AT THE SPRING STREET COURTHOUSE
 9
10
11               ALL HEARINGS ARE SET IN THE DEPARTMENT AS
                 REFLECTED IN THE NOTICE OF CASE ASSIGNMENT
12
                 FINAL STATUS CONFERENCE:
13
14                          DATE:                                     AT 10:00 A.M.

15               TRIAL:
16                          DATE:                                     AT 8:30 A.M.
17
                 OSC RE DISMISSAL
18               (CODE CIV. PROC. § 583.210):
19                          DATE:                                     AT 8:30 A.M.
20
21         TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

22         Pursuant to the California Code of Civil Procedure (“C.C.P.”), the California Rules of
23   Court (“C.R.C.”) and the Los Angeles County Court Rules (“Local Rules”), the Los Angeles
24   Superior Court (“LASC” or “Court”) HEREBY AMENDS AND SUPERSEDES THE
25   SEPTEMBER 26, 2019 STANDING ORDER AND, GENERALLY ORDERS AS FOLLOWS
26   IN THIS AND ALL OTHER GENERAL JURISDICTION PERSONAL INJURY (“PI”)
27   ACTIONS FILED IN THE CENTRAL DISTRICT.
28   ///


                                               Page 1 of 7

            First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
                                                                                                   Exhibit 1
                                                                                                     000018
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 15 of 45 Page ID #:19


                                                                                      2020-SJ-0D2-00




 l   I.      To ensure proper assignmenl to a PI Court, platntiff(s) must carefully fill out the Civil
 2   Case Cover Sheet Addendum (form LACIV 109). The Court defines “personal injury” as: “an
 3    unlimited civil case described on the Civil Case Cover Sheet Addendum and Statement of
 4   Location (LACIV 109) as Motor Vehicle-Personal Injury/Property Damage/Wrongful Death;
 5    Personal Injury/Property Damage/Wrongful Death-Uninsured Motorist; Product Liability
 6   (other than asbestos or toxic/environmental); Medical Malpractice-Physicians & Surgeons;
 7   Other Professional Health Care Malpractice; Premises Liability; Intentional Bodily
 8    Injury/Property Damage/Wrongful Death; or Other Personal Injury/Property Damage/Wrongful
 9    Death. An action for intentional infliction of emotional distress, defamation, civil
10    rights/discrimination, or malpractice (other than medical malpractice), is not included in this
11   definition. An action for injury to real property is not included in this definition” (Local Rule
12    2.3(a)(1)(A)).
13          Consistent with Local Rule 2.3(a)(1)(A), the Court will assign a case to the PI Courts if
14   plaintiff(s) checks any of the following boxes in the Civil Case Cover Sheet Addendum:
15                     □ A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death
16                     □ A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured
17                         Motorist
18                     □ A7260 Product Liability (not asbestos or toxic/environmental)
19                     □ All 10 Medical Malpractice - Physicians & Surgeons
20                     □ A7240 Medical Malpractice - Other Professional Health Care Malpractice
21                     □ A7250 Premises Liability (c.g., slip and fall)
22                     □ A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
23                         assault, vandalism etc.)
24                     □ A7220 Other Personal Injury/Property Damage/Wrongful Death
25          The Court will not assign cases to the PI Courts if plaintiffs) checks any boxes elsewhere
26   in the Civil Case Cover Sheet Addendum (any boxes on pages two and three of that form).
27          The Court sets the above dates in this action in the PI Court as reflected in the Notice of
28   Case Assignment at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA


                                                  Page 2 of 7
            First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
                                                                                                     Exhibit 1
                                                                                                       000019
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 16 of 45 Page ID #:20


                                                                                         2020-SJ-002-00




 l   90012 (C.R.C. Rules 3.714(b)(3), 3.729).
 2   FILING OF DOCUMENTS
 3   2.     With the exception of self-represented litigants or parties or attorneys that have obtained
 4   an exemption from mandatory electronic filing, parties must electronically file documents.
 5   Filings are no longer accepted via facsimile. The requirements for electronic filing are detailed
 6   in the Court’s operative General Order Re Mandatory Electronic Filing for Civil, available online
 7   at www.lacourt.org (link on homepage).
 8   SERVICE OF SUMMONS AND COMPLAINT
 9   3.      Plaintiff(s) shall serve the summons and complaint in this action upon defendant(s) as
10   soon as possible but no later than three years from the date when the complaint is filed
11   (C.C.P. § 583.210, subd. (a)). On the OSC re Dismissal date noted above, the PI Court will
12   dismiss the action and/or all unserved parties unless the plaintiffs) shows cause why the action
13   or the unserved parties should not be dismissed (C.C.P. §§ 583.250; 581, subd. (b)(4)).
14   4.     The Court sets the above trial and final status conference ("FSC”) dates on the condition
15   that plaintiffs) effectuate service on defendanl(s) of the summons and complaint within six
16   months of filing the complaint.
17   5.     The PI Court will dismiss the case without prejudice pursuant to Code of Civil Procedure
18   § 581 when no party appears for trial.
19   STIPULATIONS TO CONTINUE TRIAL
20   6.     Provided that all parties agree (and there is no violation of the “five-year rule” (C.C.P.
21   § 583.310)), the parties may advance or continue any trial date in the PI Courts without showing
22   good cause or articulating any reason or justification for the change. To continue or advance a
23   trial date, the parties (or their counsel of record) should jointly execute and submit a Stipulation
24   to Continue Trial, FSC and Related Motion/Discovery Dates (form LACIV CTRL-242, available
25   on the court’s website. Personal Injury Court link). The PI Courts schedule FSCs at 10:00 a.m.,
26   eight court days before the trial date. Parties seeking to continue the trial and FSC dates shall
27   file the stipulation at least eight court days before the FSC date. Parties seeking to advance the
28   trial and FSC dates shall file the stipulation at least eight court days before the proposed advanced


                                                  Page 3 of 7
             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
                                                                                                         Exhibit 1
                                                                                                           000020
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 17 of 45 Page ID #:21


                                                                                       2020-SJ-002-00




 1   FSC date (C.C.P. § 595.2; Govt. Code § 70617, subd. (c)(2)). In selecting a new trial date,
 2   parties should avoid setting on any Monday, or the Tuesday following a court holiday. Parties
 3   may submit a maximum of two stipulations to continue trial, for a total continuance of six
 4   months. Subsequent requests to continue trial will be granted upon a showing of good cause by
 5   noticed motion. This rule is retroactive so that any previously granted stipulation to continue
 6   trial will count toward the maximum number of allowed continuances.
 7   NO CASE MANAGEMENT CONFERENCES
 8   7.     The PI Courts do not conduct case management conferences. The parties need not file a
 9   Case Management Statement.
10   LAW AND MOTION
11   8.     Any and all electronically-filed documents must be text searchable and bookmarked.
12   (See operative General Order re Mandatory Electronic Filing in Civil).
13   COURTESY COPIES REQUIRED
14   9.     Pursuant to the operative General Order re Mandatory Electronic Filing, courtesy
15   copies of certain documents must be submitted directly to the PI Court courtrooms at the
16   Spring Street Courthouse. The PI Courts also strongly encourage the parties filing and
17   opposing lengthy motions, such as motions for summary judgmenl/adjudication, to submit one
18   or more three-ring binders organizing the courtesy copy behind tabs. Any courtesy copies of
19   documents with declarations and/or exhibits must be tabbed (C.R.C. Rule 3.1110(0)* All
20   deposition excerpts referenced in briefs must be marked on the transcripts attached as exhibits
21   (C.R.C. Rule 3.1116(c)).
22   RESERVATION HEARING DATE
23   10.    Parties must reserve hearing dates for motions in the PI Courts using the Court
24   Reservation System (CRS) available online at www.Iacourt.on1 (link on homepage). After
25   reserving a motion hearing date, the reservation requestor must submit the papers for filing with
26   the reservation receipt number printed on the face page of the document under the caption and
27   attach the reservation receipt as the last page. Parties or counsel who are unable to utilize the
28   online CRS may reserve a motion hearing dale by calling the PI courtroom, Monday through


                                                Page 4 of 7
             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
                                                                                                       Exhibit 1
                                                                                                         000021
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 18 of 45 Page ID #:22


                                                                                         2Q20-SJ-002-00




 1   Friday, between 3:00 p.m. and 4:00 p.m.
 2   WITHDRAWAL OF MOTIONS
 3   11.     California Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
 4   immediately if a matter will not be heard on the scheduled date. In keeping with that rule, the
 5   PI Courts require parties to comply with Code of Civil Procedure section 472(a) with regard to
 6   the amending of pleadings related to demurrers or motions to strike so that the PI Courts do not
 7   needlessly prepare tentative rulings for these matters.
 8   DISCOVERY MOTIONS
 9   12.    The purpose of an Informal Discovery Conference (“IDC”) is to assist the parties to
10   resolve and/or narrow the scope of discovery disputes. Lead trial counsel on each side, or another
11   attorney with full authority to make binding agreements, must attend in person. The PI judges
12   have found that, in nearly every case, the parties amicably resolve disputes with the assistance
13   of the Court.
14   13.    Parties must participate in an IDC before a Motion to Compel Further Responses to
15   Discovery will be heard unless the moving party submits evidence, by way of declaration, that
16   the opposing party has failed or refused to participate in an IDC. Scheduling or participating in
17   an IDC does not automatically extend any deadlines imposed by the Code of Civil Procedure for
18   noticing and filing discovery motions. Ideally, the parties should participate in an IDC before a
19   motion is filed because the IDC may avoid the necessity of a motion or reduce its scope. Because
20   of that possibility, attorneys are encouraged to stipulate to extend the 45 (or 60) day deadline for
21   filing a motion to compel further discovery responses in order to allow time to participate in an
22   IDC.
23          If parties do not stipulate to extend the deadlines, the moving party may file the motion
24   to avoid it being deemed untimely. However, the IDC must take place before the motion is
25   heard so it is suggested that the moving party reserve a date for the motion hearing that is at least
26   60 days after the date when the IDC reservation is made. Motions to Compel Further Discovery
27   Responses are heard at 10:00 a.m. If the IDC is not productive, the moving party may advance
28   the hearing on a Motion to Compel Further Discovery Responses on any available hearing date


                                                  Page 5 of 7

             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
                                                                                                         Exhibit 1
                                                                                                           000022
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 19 of 45 Page ID #:23


                                                                                        2020-SJ-002-00




 1   lhat complies with the notice requirements of the Code of Civil Procedure.
 2   14.    Parties must reserve IDC dates in the PI Courts using CRS, which is available online at
 3   www.lacourt.org (link on homepage). Parties must meet and confer regarding the available dales
 4   in CRS prior to accessing the system. After reserving the IDC date, the reservation requestor
 5   must file and serve an Informal Discovery Conference Form for Personal Injury Courts (form
 6   LACIV 239) at least 15 court days prior to the conference and attach the CRS reservation receipt
 7   as the last page. The opposing party may file and serve a responsive IDC form, briefly setting
 8   forth that party’s response, at least ten court days prior to the IDC.
 9   15.    Time permitting, the PI Hub judges may be available to participate in IDCs to try to
10   resolve other types of discovery disputes.
11   EX PARTE APPLICATIONS
12   16.    Under the California Rules of Court, courts may only grant ex parte relief upon a
13   showing, by admissible evidence, that the moving party will suffer “irreparable harm,”
14   "immediate danger,” or where the moving party identifies "a statutory basis for granting relief
15   ex parte” (C.R.C. Rule 3.1202(c)). The PI Courts have no capacity to hear multiple ex parte
16   applications or to shorten time to add hearings to their fully booked motion calendars. The PI
17   Courts do not regard the Court’s unavailability for timely motion hearings as an “immediate
18   danger” or threat of “irreparable harm” justifying ex parte relief. Instead of seeking ex parte
19   relief, the moving party should reserve the earliest available motion hearing date (even if it is
20   after the scheduled trial date) and file a motion to continue trial. Parties should also check
21   CRS from time to time because earlier hearing dates may become available as cases settle or
22   hearings are taken off calendar.
23   REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT
24   17.    Parties seeking to transfer a case from a PI Court to an Independent Calendar ("IC”)
25   Court shall file and serve the Court’s “Motion/Opposition/Stipulation to Transfer Complicated
26   Personal Injury Case to Independent Calendar Court” (form LACFV 238, available on the Court's
27   website under the PI Courts link). The PI Courts will transfer a matter to an IC Court if the case
28   is not a "Personal Injury” case as defined in this Order, or if it is "complicated.” In determining


                                                  Page 6 of 7
             First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
                                                                                                      Exhibit 1
                                                                                                        000023
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 20 of 45 Page ID #:24


                                                                                        2020-SJ-002-00



 1   whether a personal injury case is ‘‘complicated” the PI Courts will consider, among other things,
 2   the number of pretrial hearings or the complexity of issues presented.
 3   18.      Parties opposing a motion to transfer have five court days to file an Opposition (using
 4   the same LACIV 238 Motion to Transfer form).
 5   19.      The PI Courts will not conduct a hearing on any Motion to Transfer to IC Court. Although
 6   the parties may stipulate to transfer a case to an Independent Calendar Department, the PI Courts
 7   will make an independent determination whether to transfer the case or not.
 8   FINAL STATUS CONFERENCE
 9   20.      Parties shall comply with the requirements of the PI Courts’ operative Standing Order
10   Re Final Status Conference, which shall be served with the summons and complaint.
11   JURY FEES
12   21.      Parties must pay jury fees no later than 365 calendar days after the filing of the initial
13   complaint (C. C. P. § 631, subd. (c)(2)).
14   JURY TRIALS
15   22.      The PI Courts do not conduct jury trials. On the trial date, a PI Court will contact the
16   Master Calendar Court, Department One, in the Stanley Mosk Courthouse. Department One
17   will assign cases for trial to dedicated Civil Trial Courtrooms and designated Criminal
18   Courtrooms.
19   SANCTIONS
20   23.      The Court has discretion to impose sanctions for any violation of this general order
21   (C.C.P. §§ 128.7, 187 and Gov. Code, § 68608, subd. (b)).
22

23
                 poh.             3-02-0
24   Dated:
                                                    SAMANTHA P. /ESSNER
25
                                                    Supervising Judge of Civil Courts
26

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                                                  Page? of 7

              First Amended Standing Order Re Personal Injury Procedures, Spring Street Courthouse
                                                                                                       Exhibit 1
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Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 21 of 45 Page ID #:25




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                                                                    Superior Court of CaHfomJa
   2                                                                  County of Los Angeles

   3                                                                      FEB 24 2020
   4                                                          Sherri R.
                                                              By.                          Oiptfy
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   7                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
   8                  FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
   9

  10
       IN RE PERSONAL INJURY CASES                        )   THIRD AMENDED STANDING ORDER
  11   ASSIGNED TO THE PERSONAL INJURY                    )   RE: FINAL STATUS CONFERENCE,
       COURTS AT THE SPRING STREET                        )   PERSONAL INJURY (“PI”) COURTS
  12   COURTHOUSE                                         )   (Effective January 13,2020)
  13

  14          The dates for Trial and the Final Status Conference (“FSC") having been set in this matter,
  15   the COURT HEREBY AMENDS AND SUPERSEDES ITS August 9, 20X9 STANDING
  16   ORDER RE: FINAL STATUS CONFERENCE, PERSONAL INJURY (“PI”) COURTS AND,
  17   GENERALLY ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL
  18   JURISDICTION PERSONAL INJURY ACTIONS:
  19

  20   1.     PURPOSE OF THE FSC
  21          The purpose of the FSC is to verify that the parties/counsel are completely ready to proceed
  22   with trial continuously and efficiently, from day to day, until verdict. The PI Courts will verify at the
  23   FSC that all parties/counsel have (1) prepared the Exhibit binders and Trial Document binders and (2)
  24   met and conferred in an effort to stipulate to ultimate facts, legal issues, motions in limine, and the
  25   authentication and admissibility of exhibits.
  26   ///

  27   ///

  28   ///

                                                       Page 1 of 5

                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                           (Effective January 13,2020)


                                                                                                       Exhibit 1
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Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 22 of 45 Page ID #:26




   1   2.      TRIAL DOCUMENTS TO BE FILED
   2           At least five calendar days prior to the Final Status Conference, the parties/counsel shall serve
   a   and file the following Trial Readiness Documents:
   4           A.         TRIAL BRIEFS (OPTIONAL)
   5           Each party/counsel may, but is not required to, file a trial brief succinctly identifying:
   6                      (1) the claims and defenses subject to litigation;
   7                      (2) the major legal issues (with supporting points and authorities);
   a                      (3) the relief claimed and calculation of damages sought; and
   9                      (4) any other information that may assist the court at trial.
  10           B.         MOTIONS IN LIMINE
  11           Before filing motions in limine, the parties/counsel shall comply with the statutory notice
  12   provisions of Code of Civil Procedure (“C.C.P ”) Section 1005 and the requirements of Los Angeles
  13   County Court Rule (“Local Rule”) 3.57(a). The caption of each motion in limine shall concisely
  14   identify the evidence that the moving party seeks to preclude. Parties filing more than one motion in
  15   limine shall number them consecutively. Parties filing opposition and reply papers shall identify the
  16   corresponding motion number in the caption of their papers.
  17           C.         JOINT STATEMENT TO BE READ TO THE JURY
  18           For jury trials, the parties/counsel shall work together to prepare and file a joint written
  19   statement of the case for the court to read to the jury (Local Rule 3.25(g)(4)).
  20           D.         JOINT WITNESS LIST
  21           The parties/counsel shall work together to prepare and file a joint list of all witnesses that
  22   each party intends to call, excluding impeachment and rebuttal witnesses (Local Rule 3.25(g)(5)).
  23   The joint witness list shall identify each witness by name, specify which witnesses are experts,
  24   estimate the length of the direct, cross examination and re-direct examination (if any) of each, and
  25   include a total of the number of hours for all witness testimony. The parties/counsel shall identify all
  26   potential witness scheduling issues and special requirements. Any party/counsel who seeks to elicit
  27   testimony from a witness not identified on the witness list must first make a showing of good cause to
  26   the trial court.
                                                           Page 2 of 5

                    THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                             (Effective January 13, 2020)


                                                                                                        Exhibit 1
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Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 23 of 45 Page ID #:27




   1          E.       LIST OF PROPOSED JURY INSTRUCTIONS
   2                   (JOINT AND CONTESTED)
   3          The parties/counsel shall jointly prepare and file a list of proposed jury instructions, organized
   4   in numerical order, specifying the instructions upon which all sides agree and the contested
   5   instructions, if any. The List of Proposed Jury Instructions must include a space by each instruction
   6   for the judge to indicate whether the instruction was given.
   7          F.       JURY INSTRUCTIONS
   a                   (JOINT AND CONTESTED)
   9          The parties/counsel shall prepare a complete set of full-text proposed jury instructions, editing
  10   all proposed California Civil Jury Instructions and insert party name(s) and eliminate blanks,
       brackets, and irrelevant material. The parties/counsel shall prepare special instructions in a format
  12   ready for submission to the jury with the instruction number, title, and text only (i.e., there should be
  13   no boxes or other indication on the printed instruction itself as to the requesting party).
  14          G.       JOINT VERDICT FORM(S)
  15          The parties/counsel shall prepare and jointly file a proposed general verdict form or special
  16   verdict form (with interrogatories) acceptable to all sides (Local Rule 3.25(g)(8)). If the
  17   parlies/counsel cannot agree on a joint verdict form, each party must separately file a proposed
  10   verdict form.
  19          H.       JOINT EXfflBIT LIST
  20          The parties/counsel shall prepare and file a joint exhibit list organized with columns
  21   identifying each exhibit and specifying each party's evidentiary objections, if any, to admission of
  22   each exhibit. The parties/counse) shall meet and confer in an effort to resolve objections to the
  23   admissibility of each exhibit.
  24          I.       PAGE AND LINE DESIGNATION FOR
  25                   DEPOSITION AND FORMER TESTIMONY
  26          If the parties/counsel intend to use deposition testimony or former trial testimony in lieu of
  27   any witness’s live testimony, the parties/counsel shall meet and confer and jointly prepare and file a
  28   chart with columns for each of the following: 1) the page and line designations of the deposition or
                                                       Page 3 ol 5

                   THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                            (EHective January 13,2020)



                                                                                                       Exhibit 1
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Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 24 of 45 Page ID #:28




   1   former testimony requested for use, 2) objections, 3) counter-designations, 4) any responses thereto,
   2   and 5) the Court’s ruling.
   3   3.     EVIDENTIARY EXHIBITS
   4          The parties/counsel shall jointly prepare (and be ready to temporarily lodge for inspection at
   5   the FSC) three sets of tabbed, internally paginated by document, and properly-marked exhibits,
   6   organized numerically in three-ring binders (a set for the Court, the Judicial Assistant and the
   7   witnesses). The parties/counsel shall mark all non-documentary exhibits and insert a simple written
   8   description of the exhibit behind the corresponding numerical tab in the exhibit binder. If the parties
   9   have a joint signed exhibit list and electronic copies of their respective exhibits, then the
  10   parties/counsel will not be required to produce exhibit binders at the FSC. However, the exhibit
  11   binders will be required by the assigned trial judge when the trial commences. In the absence of
  12   either a joint signed exhibit list or electronic copies, exhibit binders will be required to be produced
  13   by all parlies/counsel at the FSC.
  14   4.     TRIAL BINDERS REQUIRED IN THE PI COURTS
  15          The parties/counsel shall jointly prepare (and be ready to temporarily lodge and include the
  16   following for inspection at the FSC) the Trial Documents consisting of conformed copies (if
  17   available), tabbed and organized into three-ring binders with a table of contents that includes the
  18   following:
  19          Tab A           Trial Briefs (Optional)
  20          TabB            Motions in Limine
  21          Tab C           Joint Statement to Be Read to the Jury
  22          Tab D           Joint Witness List
  23          TabE            Joint List of Jury Instructions (identifying the agreed upon and contested
  24                          instructions)
  25          Tab F:          Joint and Contested Jury Instructions
  26          Tab G:          Joint and/or Contested Verdict Form(s)
  27          Tab H:          Joint Exhibit List
  28
                                                        Page 4 of 5

                    THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                                (Effective January 13,2020)


                                                                                                       Exhibit 1
                                                                                                         000028
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 25 of 45 Page ID #:29




   i          Tab I:          Joint Chart of Page and Line Designation(s) for Deposition and
   2                          Former Testimony
   3          Tab J:          Copies of the Current Operative Pleadings (including the operative complaint,
   4                          answer, cross-complaint, if any, and answer to any cross-complaint).
   5          The parties/counsel shall organize motions in limine (tabbed in numerical order) behind Tab
   6   B with the opposition papers and reply papers for each motion placed directly behind the moving
   7   papers. The parties shall organize proposed jury instructions behind Tab F, with the agreed upon
   a   instructions first in order followed by the contested instructions (including special instructions)
   9   submitted by each side.
  10   5.     FAILURE TO COMPLY WITH FSC OBLIGATIONS
  11          The court has discretion to require any party/counsel who fails or refuses to comply with this
  12   Amended Standing Order to Show Cause why the Court should not impose monetary, evidentiary
  13   and/or issue sanctions (including the entry of a default or the striking of an answer).
  14

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  16   Dated: fcfe .
                                                     samXntha p. jessWEr
  17
                                                     Supervising Judge of Civil Courts
  18

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                  THIRD AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS
                                           (Effective January 13,2020)


                                                                                                      Exhibit 1
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Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 26 of 45 Page ID #:30


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 5                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 €                            FOR THE COUNTY OF LOS ANGELES
 7
     IN RE PERSONAL INJURY CASES                   )   FIFTH AMENDED STANDING ORDER
 e   ASSIGNED TO PERSONAL INJURY                   )   RE: MANDATORY SETTLEMENT
 9   COURTROOMS AT THE SPRING                      )   CONFERENCE
     STREET COURTHOUSE                             )   (Effective February 24,2020)
10

11

12   TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

13          Pursuant to California Code of Civil Procedure, the California Rules of Court and

14   the Los Angeles Court Rules, the Los Angeles Superior Court (“Court”) HEREBY

15   AMENDS AND SUPERSEDES THE September 26, 2019 FOURTH AMENDED

16   STANDING ORDER, AND THE COURT HEREBY ISSUES THE FOLLOWING FIFTH

17   AMENDED STANDING ORDER:

18          The Court orders the parties to participate in a Mandatory Settlement Conference

19   (“MSC") supervised by a Personal Injury Court Judge and staffed by volunteer settlement

20   attorneys from the American Board of Trial Advocates, the Association of Southern California

21   Defense Counsel, and the Consumer Attorneys Association of Los Angeles.

22          1. Plaintiffs counsel shall, within two (2) court days of the Court’s order of an MSC,

23             access the Consumer Attorneys Association of Los Angeles (“CAALA") website, at

24             vvww.caala.org. and under “The LASC COURT CONNECTION” click on “LA

25             Superior Court PI MSC (Parties),” to register and schedule a mutually agreed upon

26             lime for the MSC prior to the trial date.

27          2. A mandatory settlement conference statement shall be served on all parties not less

28             than five (5) court days before the scheduled MSC. Parties’ counsel shall serve


                                                           I
                     FIFTH AMENDED STANDING ORDER - MANDATORY SETTLEMENT CONFERENCE


                                                                                                         Exhibit 1
                                                                                                           000030
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 27 of 45 Page ID #:31


                                                                                       2020-SJ-003-00



 1               opposing counsel, CAALA at stuart@caala.org. and the Court by email.       Email
 2               addresses for the PI courtrooms can be found on the Court’s website at
 3               www.lacourt.org. under "Division” go to "CiviP', then go to "General Jurisdiction
 4               PI Court” then click on "PI Courtroom Entail Addresses”. CAALA will forward
 5               the mandatory settlement conference statements to the settlement attorneys.
 6            3. Pursuant to California Rules of Court, Rule 3.1380(b) and Los Angeles Superior
 7               Court Rule 3.25(d), trial counsel, the parties and persons, including insurance
 8               company representatives with full settlement authority, must attend in person unless
 9               the settlement judge excuses personal appearance for good cause.
10            4. If the case settles prior to the scheduled MSC, Plaintiffs counsel shall notify the
11               specific Courtroom, forthwith, of such settlement by email and also CAALA by email
12               to stuart@caala.org.
13            5. Parties and counsel are ordered to appear in in the assigned Personal Injury
14               Courtroom at the scheduled time and date of the MSC as selected by the parties’
15               counsel.
16            6. The Court has the discretion to require any party and/or counsel who fails or refuses
17               to comply with this order to show cause why the Court should not impose monetary
18               sanctions.
19

20

21   Dated:      frb-          jw-o
                                                   SAMANTHA P. JESSNER
22
                                                   Supervising Judge of Civil Courts
23

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                        FIFTH AMENDED STANDING ORDER - MANDATORY SETTLEMENT CONFERENCE


                                                                                                     Exhibit 1
                                                                                                       000031
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 28 of 45 Page ID #:32




                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

    mm
   i mm                            The Early Organizational Meeting Stipulation, Discovery
    $   mm                      Resolution Stipulation, and Motions in Limine Stipulation are
 Superior Court of California
 County of Los Angeles
                                voluntary stipulations entered into by the parties. The parties
                                may enter into one, two, or all three of the stipulations;
                                however, they may not alter the stipulations as written,
  LAC BA                        because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section         manner that promotes economic case resolution and judicial
                                efficiency.
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                                    The    following   organizations   endorse    the   goal of
 Consumer Attorneys
 Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                consider using these stipulations as a voluntary way to
                                promote communications and procedures among counsel
   ASCBC            't
                                and with the court to fairly resolve issues in their cases.
            K>J i to*.


                                ^Los Angeles County Bar Association Litigation Section#
 Southern California
 Defense Counsel
                                              + Los Angeles County Bar Association
                                              Labor and Employment Law Section#
 ~mr
 Association of
 Business Trial Lawyers             #Consumer Attorneys Association of Los Angeles#


                                          #Southern California Defense Counsel#

 ■»                                       #Association of Business Trial Lawyers#
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 California Employment
 Lawyers Association
                                     #Califomia Employment Lawyers Association#


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    For Optional Use                                                                          Exhibit 1
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  Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 29 of 45 Page ID #:33




NAME AND ADDRESS Of ATTORNEY OR PARTY WITHOUT ATTORNEY                 STATS BAR NUMBER            Rntfvmt la Cltfk't Fit Stamp




          TELEPHONE NO.:                                 FAX NO. (Optional)
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
           STIPULATION - EARLY ORGANIZATIONAL MEETING

      This stipulation Is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution*
      The parties agree that:
       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:
             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?
             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.");
             c. Exchange of names and contact information of witnesses;
             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;
             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;
             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;
             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
       LACIV 229 (Rev 02/15)
       LASC Approved 04/11              STIPULATION - EARLY ORGANIZATIONAL MEETING
       For Optional Use                                                                                                   Page 1 of 2

                                                                                                                          Exhibit 1
                                                                                                                            000033
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 30 of 45 Page ID #:34


 SHORT TITLE                                                                      CASE NUMBER.




               discussed in the '‘Alternative Dispute Resolution (ADR) Information Package” served with the
               complaint;

       h. Computation of damages, including documents, not privileged or protected from disclosure, on
          which such computation is based;

       i.      Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.ora under "Civif and then under “General Information").

 2.            The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                            for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.ora under "C/V/f,
               click on “General Information", then click on "Voluntary Efficient Litigation Stipulations”.

 3.            The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties’
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

  4.           References to “days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

 The following parties stipulate:
  Date:
                                                                 *■



                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
  Date:
                                                                 >
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
  Date:

                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                          .)
  Date:
                                                                 >
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
  Date:

                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


  LACIV 229 (Rev 02/15)
  LASC Approved 04/11         STIPULATION - EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2

                                                                                                         Exhibit 1
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   Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 31 of 45 Page ID #:35


NAME ANO ADDRESS OF ATJOftNEV OR PARTY WITHOUT ATTORNEY                 STATE BAR NUMBER            Reurvatf   CM'* Fia Sump




          TELEPHONE NO.                                   FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Namet,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT;

                                                                                           CASE NUMBER:
                     STIPULATION - DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

       The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                   a. The party requesting the Informal Discovery Conference will:

                       i.     File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                      ii.      Include a brief summary of the dispute and specify the relief requested; and

                     iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                   b. Any Answer to a Request for Informal Discovery Conference must:

                       i.     Also be filed on the approved form (copy attached);

                      ii.      Include a brief summary of why the requested relief should be denied;
       LAC IV 036 (new)
       LASC Approved 04/11                      STIPULATION - DISCOVERY RESOLUTION
       For Optional Use                                                                                                Page 1 of 3

                                                                                                                        Exhibit 1
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Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 32 of 45 Page ID #:36

  SHORT TITLE                                                                   CASE NUMBER




                iii.   Be filed within two (2) court days of receipt of the Request; and

                iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later than the next court day following the filing.

        c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.

        d. If the Court has not granted or denied the Request for Informal Discovery Conference
           within ten (10) days following the filing of the Request, then it shall be deemed to have
           been denied. If the Court acts on the Request, the parties will be notified whether the
           Request for Informal Discovery Conference has been granted or denied and, if granted,
           the date and time of the Informal Discovery Conference, which must be within twenty (20)
           days of the filing of the Request for Informal Discovery Conference.

        e. If the conference is not held within twenty (20) days of the filing of the Request for
           Informal Discovery Conference, unless extended by agreement of the parties and the
           Court, then the Request for the Informal Discovery Conference shall be deemed to have
           been denied at that time.

  4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
     without the Court having acted or (c) the Informal Discovery Conference is concluded without
     resolving the dispute, then a party may file a discovery motion to address unresolved issues.

  5. The parties hereby further agree that the time for making a motion to compel or other
     discovery motion is tolled from the date of filing of the Request for Informal Discovery
     Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
     filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
     by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a “specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to “days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)
 LASC Approved 04/11             STIPULATION - DISCOVERY RESOLUTION
 For Optional Use                                                                              Page 2 of 3

                                                                                                Exhibit 1
                                                                                                  000036
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 33 of 45 Page ID #:37

 SHORT TrtLE                                                     CASE NUMBER:




  The following parties stipulate:

  Date:
                                                   >
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
  Date:
                                                   >
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:
                                                   >
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR
  Date:
                                                   >
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR
  Date:
                                                   >
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR




 LACIV 036 (new)
 LASC Approved 04/11           STIPULATION - DISCOVERY RESOLUTION
 For Optional Use                                                                         Page 3 of 3

                                                                                           Exhibit 1
                                                                                             000037
  Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 34 of 45 Page ID #:38




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY                  STATE BAR NUMBER                     R««v#d br Ciirt'f Flo Stimp




          TELEPHONE NO :                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional)
    ATTORNEY FOR (Name).
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS

PLAINTIFF:


DEFENDANT.

                                                                                                    CASE NUMBER.
                     INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                  □ Request for Informal Discovery Conference
                  □ Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:____________         (insert date 10 calendar days following filing of
             (he Request)

      3. Deadline for Court to hold Informal Discovery Conference:                                              (insert date 20 calendar
             days Following fiKrtg of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                               INFORMAL DISCOVERY CONFERENCE
      For Optional Use                   (pursuant to the Discovery Resolution Stipulation of the parties)

                                                                                                                                   Exhibit 1
                                                                                                                                     000038
  Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 35 of 45 Page ID #:39




MAM£ AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY                 STATE BAR NUMBER                  fof CtarV* F*o SlAmp




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
              STIPULATION AND ORDER - MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)
       LASC Approved 04/11              STIPULATION AND ORDER - MOTIONS IN LIMINE
       For Optional Use                                                                                               Page 1 of 2

                                                                                                                        Exhibit 1
                                                                                                                          000039
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 36 of 45 Page ID #:40


 SHOflT TITLE                                                 CASE NUMBER




 The following parties stipulate:

 Date:

                (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
 Date:

                (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
 Date:

                (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
 Date:

                (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
 Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR
 Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR
 Date:
                                                 >
                (TYPE OR PRINT NAME)                 (ATTORNEY FOR



 THE COURT SO ORDERS.

    Date:
                                                               JUDICIAL OFFICER




  LACIV 075 (new)
  LASC Approved 04/11     STIPULATION AND ORDER - MOTIONS IN LIMINE                  Page 2 of 2

                                                                                      Exhibit 1
                                                                                        000040
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 37 of 45 Page ID #:41




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 3                                                                          MAY 11 2011
 4                                                                       JOHN   9y«KE,a£HK
 5                                                                  BY
                                                                                mawr
                                                                                WVARfJO. DEPUTY

 6

 7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                           FOR THE COUNTY OF LOS ANGELES
 9
     General Order Re                           )     ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation      )     EXTENDING TIME TO RESPOND BY
u    Stipulations                               )     30 DAYS WHEN PARTIES AGREE
                                                )     TO EARLY ORGANIZATIONAL
12                                              )     MEETING STIPULATION
                                                )
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
is
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
     drafting “Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18   use in general jurisdiction civil litigation in Los Angeles County;
19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
28

                                                    -1-

                               ORDER PURSUANT TO CCP 1054(a)
                                                                                                  Exhibit 1
                                                                                                    000041
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 38 of 45 Page ID #:42




            Whereas the Early Organizational Meeting Stipulation is intended to encourage
 i

 2   cooperation among the parties at an early stage in litigation in order to achieve

 3   litigation efficiencies;
 4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
     will promote economic case resolution and judicial efficiency;
 6

 7
            Whereas, in order to promote a meaningful discussion of pleading issues at the

 8   Early Organizational Meeting and potentially to reduce the need for motions to
 9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
n
     has expired;
12

13          Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14   which an action is pending to extend for not more than 30 days the time to respond to
15
     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
     days the time to respond to a complaint or to a cross complaint in any action in which
18

19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

20   of good cause is based on the anticipated judicial efficiency and benefits of economic
21
     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote.
23

24
            IT IS HEREBY ORDERED that, in any case in which the parties have entered

25   into an Early Organizational Meeting Stipulation, the time for a defending party to
26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                -2-

                                ORDER PURSUANT TO CCP 1054(a)
                                                                                              Exhibit 1
                                                                                                000042
    Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 39 of 45 Page ID #:43

/



             by Code of Civil Procedure section 1054(a) without further need of a specific court
         i

         2   order.

     3                /&

     4

     5
             DATED:               i                          Jj/nJJ/’A
                                                      Carolyn B. Kuhy Supervising Judge of the
     6
                                                      Civil Departments, Los Angeles Superior Court

     7

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                                      ORDER PURSUANT TO CCP 1054(a)

                                                                                                      Exhibit 1
                                                                                                        000043
 Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 40 of 45 Page ID #:44


  ss*
  'i
 ■c
              5       Superior Court of California, County of Los Angeles
  ww
                            ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                   INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What Is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
       1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
          settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

       2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
          strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
          acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                   Mediation may be appropriate when the parties
                      • want to work out a solution but need help from a neutral person,
                      • have communication problems or strong emotions that interfere with resolution.
                   Mediation may not be appropriate when the parties
                      • want a public trial and want a judge or jury to decide the outcome.
                      • lack equal bargaining power or have a history of physical/emotional abuse.



       LASC CIV 271 Rev. 04/21                                                                                   Page 1 of 2
       For Mandatory Use




                                                                                                                 Exhibit 1
                                                                                                                   000044
Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 41 of 45 Page ID #:45




                                  How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a. The Civil Mediation Vendor Resource List
             If all parties in an active civil case agree to mediation, they may contact these organizations
             to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

                   •      ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949)863-9800
                   •      JAMS, Inc Assistant Manager Reggie Joseph, RJoseph@iamsadr.com (310) 309-6209
                   •      Mediation Centerof Los Angeles Program Manaeerinfo@mediationLA.org
                          (833) 476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

          b. Los Angeles County Dispute ResolutionPrograms
             https://hrc.lacountv.gov/wp-content/uploads/2Q20/05/DRP-Fact-Sheet-23Octoberl9-Current-as-of-0ctober-2019-l.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

          c.   Mediators and ADR and Bar organizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences (MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


LASC CIV 271 Rev. 04/21
For Mandatory Use                                                                                           Page 2 of 2


                                                                                                                  Exhibit 1
                                                                                                                    000045
                                     Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 42 of 45 Page ID #:46



                                       1   Shawn Azizzadeh, Esq. CSB No. 227558
                                           Michelle Balady, Esq. CSB No. 316525
                                       2   BEDFORD LAW GROUP,
                                           A PROFESSIONAL LAW CORPORATION
                                       3
                                           1875 Century Park East, Suite 1790
                                       4   Los Angeles, CA 90067
                                           Telephone: (310) 507-7900
                                       5   Facsimile: (310) 507-7910
                                       6   Attorneys for Plaintiff,
                                           Gloria Martinez Arreola
                                       7

                                       8
                                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                       9
                                                        FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                                      10

                                      11
                                           GLORIA MARTINEZ ARREOLA,                           CASE NO. 21STCV26616
1875 CENTURY PARK EAST, SUITE 1790




                                      12
                                                                                 Plaintiff,   Assigned for all purposes to:
     BEDFORD LAW GROUP, A PC




                                                                                              The Hon. Serena R. Murillo
      LOS ANGELES , CA 90067




                                      13
                                                                 vs.                          Dept.: 29
                                      14
                                           WALMART INC.; and DOES 1 to 10,                    PLAINTIFF’S STATEMENT OF
                                      15   inclusive,                                         DAMAGES

                                      16                                      Defendants.     Action Filed: 07/20/2021
                                                                                              Trial Date: 01/17/2023
                                      17                                                      FSC Date: 01/03/2023

                                      18

                                      19   TO DEFENDANTS AND TO THEIR ATTORNEYS OF RECORD:

                                      20          Pursuant to California Code of Civil Procedure Section 425.11, Plaintiff GLORIA

                                      21   MARTINEZ ARREOLA, submits her Statement of Damages to defendant, WALMART INC., to

                                      22   date, as follows:

                                      23          1. A statement setting forth the nature and amount of damages being sought in this action,

                                      24   within the time and in the manner required by law;

                                      25            Medical expenses: > $59,027.00

                                      26            Pain, suffering, and inconvenience: $250,000.00

                                      27            Emotional Distress: $250,000.00

                                      28

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                                                                       PLAINTIFF’S STATEMENT OF DAMAGES
                                                                                                                               Exhibit 1
                                                                                                                                 000046
                                     Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 43 of 45 Page ID #:47



                                       1          These amounts are based on information presently known and currently available to

                                       2   Plaintiff. However, discovery is continuing, and Plaintiff may, and does hereby reserve the right to,

                                       3   amend and/or supplement this information if and/or when other and/or further information becomes

                                       4   available.

                                       5

                                       6   DATED: July 21, 2021                             BEDFORD LAW GROUP, A PC

                                       7

                                       8                                                    ________________________
                                                                                            Shawn Azizzadeh, Esq.
                                       9                                                    Michelle Balady, Esq.
                                                                                            Attorney for Plaintiff,
                                      10                                                    Gloria Martinez Arreola

                                      11
1875 CENTURY PARK EAST, SUITE 1790




                                      12
     BEDFORD LAW GROUP, A PC

      LOS ANGELES , CA 90067




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                                                                        PLAINTIFF’S STATEMENT OF DAMAGES
                                                                                                                                  Exhibit 1
                                                                                                                                    000047
                                     Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 44 of 45 Page ID #:48



                                       1   Shawn Azizzadeh, Esq. CSB No. 227558
                                           Michelle Balady, Esq. CSB No. 316525
                                       2   BEDFORD LAW GROUP,
                                           A PROFESSIONAL LAW CORPORATION
                                       3
                                           1875 Century Park East, Suite 1790
                                       4   Los Angeles, CA 90067
                                           Telephone: (310) 507-7900
                                       5   Facsimile: (310) 507-7910
                                       6   Attorneys for Plaintiff,
                                           Gloria Martinez Arreola
                                       7

                                       8
                                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                       9
                                                          FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                                      10

                                      11
                                           GLORIA MARTINEZ ARREOLA,                            CASE NO. 21STCV26616
1875 CENTURY PARK EAST, SUITE 1790




                                      12
     BEDFORD LAW GROUP, A PC




                                                                                               Assigned for all purposes to:
      LOS ANGELES , CA 90067




                                      13                                          Plaintiff,   The Hon. Serena R. Murillo
                                                                                               Dept.: 29
                                      14                          vs.
                                                                                               PLAINTIFF’S NOTICE OF POSTING
                                      15
                                           WALMART INC., and DOES 1 through 10                 JURY FEES
                                      16   inclusive,
                                                                                               Action Filed: 07/20/2021
                                                                              Defendant(s).    Trial Date: 01/17/2023
                                      17                                                       FSC Date: 01/03/2023
                                      18

                                      19
                                                     TO THE COURT, THE CLERK THEREOF, AND TO DEFENDANT AND THEIR
                                      20
                                           ATTORNEY OF RECORD:
                                      21
                                                     PLEASE TAKE NOTICE that Plaintiff posts advanced jury fees on the above-captioned
                                      22
                                           matter.
                                      23
                                           ///
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                                                                        PLAINTIFF’S NOTICE OF POSTING JURY FEES
                                                                                                                               Exhibit 1
                                                                                                                                 000048
                                     Case 2:21-cv-07278-GW-PD Document 1-1 Filed 09/10/21 Page 45 of 45 Page ID #:49



                                       1   DATED: July 21, 2021                     BEDFORD LAW GROUP, A PC

                                       2

                                       3                                            ________________________
                                                                                    Shawn Azizzadeh, Esq.
                                       4                                            Michelle Balady, Esq.
                                                                                    Attorney for Plaintiff,
                                       5                                            Gloria Martinez Arreola

                                       6

                                       7

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                                      10

                                      11
1875 CENTURY PARK EAST, SUITE 1790




                                      12
     BEDFORD LAW GROUP, A PC

      LOS ANGELES , CA 90067




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                                                                  PLAINTIFF’S NOTICE OF POSTING JURY FEES
                                                                                                               Exhibit 1
                                                                                                                 000049
